Case 1:21-cr-00118-RCL Document 61 Filed 03/29/21 Page 1 of 3

AO 199A (Rev. 06/19) Order Setting Conditions of Release Page | of 3 Pages

UNITED STATES DISTRICT COURT

for the
District of Columbia

United States of America.
Vv.

ERIC GAVELEK MUNCHEL

)
)
) Case No. 21-cr-118-RCL-1
)
Defendant )

ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at: _ the United States District Court for the District of Columbia by videoconference
Place

04/13/2021 10:00 AM EDT

Date and Time

on

If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
Case 1:21-cr-00118-RCL Document 61 Filed 03/29/21 Page 2 of 3

AO 199B (Rev. 12/20) Additional Conditions of Release Page 2 of 3. Pages

 

 

ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following Icast restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safely of any other person and the community.

MIS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

(BX) (6) The defendant is placed in the custody of:

Person or organization [REDACTED ~ to be Provided to Pretrial Services
Address (only if above is an organization)
City and state Tel. No.

who agrees lo (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed:
Custodian Date
(BI) (7) The defendant must:
(&X)) (a) submit to supervision by and report for supervision to the — Pretrial Services office as directed and must call
Pretrial Services once per week
telephone number . no later than

(BX) (6) continue or actively seek employment.

(LJ) (c) continue or start an education program.

(EK) surrender any passport to: the Clerk of the United States District Court for the District of Columbia

(EI) not obtain a passport or other international travel document.

(BJ) () abide by the following restrictions on personal association, residence, or travel; only within the Middle District of Tennessee unless
pre-approved by Pretrial Services. Defendant may not travel outside the continental United States without court approval, Defendant
must patlicipate in all future proceedings as directed, Defendant may not travel to Washington, DC, unless appearing for court, meeting
with Pretrial Services, or consulting with his attorney

(&)) (g) avoid all contact. directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including: codefendants except through counsel or as otherwise authorized by Pretrial Services

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a=

(2) (h) get medical or psychiatric treatment: as determined by Pretrial Services

(CJ) G)_ return to custody each at o'clock alter being released al o'clock for employment. schooling.

or the following purposes:

(J) Gj) maintain residence al a halfway house or community corrections center, as the pretrial services office or supervising officer considers

necessary.

(Bd) (k) not possess a firearm, destructive device, or other weapon.

(2) () notusealcohol( (J )atall ( &X) ) excessively.

(&1) (m) not use or unlawfully possess a narcolic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner,

&1) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system. and/or any form of
prohibited substance screening or testing. The defendant must nol obstruct, attempt lo obstruct, or tamper with the efficiency and accuracy
of prohibited substance screening or testing.

(&]) (0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.
(BJ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
(CL) Gi) Curfew. You are restricted to your residence every day ( []) from to .or (LE) )as
directed by the pretrial services office or supervising officer, or
(XX ) (ii) Home Detention. You are restricted to your residence at all times except for cmployment: education; religious services;
medical, substance abuse, or mental health treatment; altorney visils; court appearances: court-ordered obligations: or other
activities approved in advance by the pretrial services office or supervising officer; or
(J) (iii) Home Incarceration. You are restricted lo 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court, or
(CJ ) (iv) Stand Alone Monitoring. You have no residential curfew. home detention, or home incarceration restrictions, However.
you must comply with the location or travel restrictions as imposed by the court.
Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
Case 1:21-cr-00118-RCL Document 61 Filed 03/29/21 Page 3 of 3

AO 199B (Rev. 12/20) Additional Conditions of Release Page 3 of 3. Pages

 

 

ADDITIONAL CONDITIONS OF RELEASE

(BJ) (q) submit to the following location monitoring technology and comply with its requirements as directed:
(1) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
(O ) Gi) Voice Recognition; or
(2 ) (iii) Radio Frequency; or
(2X] ) (iv) GPS.

(BR) (©) pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
officer.

(&) (s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
questioning, or traffic stops.

(&K]) (t) quarrantine for fourteen days prior to reporting to Pretrial Services to be placed on electronic monitoring and permit Pretrial Services to
visit you at home or elsewhere at anytime and to confiscate any contraband in plain view.
not access the Internet, including social media and email, except for use with their legal defense teams or as otherwise authorized by
Pretrial Services; not use encrypted messaging applications unless approved by Pretrial Services; and not have contact with any other
persons involved in the January 6 Capitol events after returning to the Districts where they will be supervised, except with their legal
defense teams or as otherwise authorized by Pretrial Service.

IT IS SO ORDERED.

Ddag/ é: i,
fad Royce C. Lamberth
United States District Judge

Date: _
